        Case
         Case2:08-cr-00332-JCM-GWF
              2:08-cr-00332-JCM-GWF Document
                                    Document 470
                                             465                   Filed 12/21/12
                                                                   Filed 01/28/13 Page
                                                                                   Page1 1ofof2 2



 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                         )
                                                       )
11                         Plaintiff,                  )
                                                       )
12           v.                                        )   2:08-CR-332-JCM-(GWF)
                                                       )
13   ANJALI YASMIN AURORA,                             )
                                                       )
14                         Defendant.                  )

15                                      ORDER OF FORFEITURE

16          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover

17   from ANJALI YASMIN AURORA a criminal forfeiture money judgment in the amount of

18   $4,128,554.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title

19   18, United States Code, Sections 982(a)(2)(A) and 982(a)(2)(B); Title 18, United States Code,

20   Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); and Title 21, United States

21   Code, Section 853(p). Second Superseding Indictment, ECF No. 55; Plea Memorandum, ECF No.

22   ___.

23          DATED January  28,day
                  this ______  2013.
                                  of __________________, 2012.

24

25
                                                 UNITED STATES DISTRICT JUDGE
26
        Case
         Case2:08-cr-00332-JCM-GWF
              2:08-cr-00332-JCM-GWF Document
                                    Document 470
                                             465                 Filed 12/21/12
                                                                 Filed 01/28/13 Page
                                                                                 Page2 2ofof2 2



 1                                      PROOF OF SERVICE

 2        I, Michelle C. Lewis, certify that the following individuals were served with copies of the

 3   Order of Forfeiture on December 21, 2012, by the below identified method of service:

 4        E-Mail/ECF

 5          Paul Riddle                                   David T. Brown
            Jason Carr                                    Brown, Brown, & Premsrirut
 6          Monique Kirtley                               520 S. Fourth Street, Second Floor
            Brenda Weksler                                Las Vegas, NV 89101
 7          Federal Public Defender                       master@brownlaw.com
            411 E. Bonneville, Suite 250                  Counsel for Jeffrey Curtis Bigsby
 8          Las Vegas, NV 89101
            ECF_Vegas@FD.ORG
 9          Counsel for Dwight Ramon Pollard

10          Osvaldo E. Fumo                               Mario D. Valencia
            Osvaldo E. Fumo, Chtd                         Law Office of Mario D. Valencia
11          1212 Casino Center Boulevard                  1055 Whitney Ranch Drive, Suite 220
            Las Vegas, NV 89104                           Henderson, NV 89014
12          ozzie@fumolaw.com                             mario_valencia@cox.net
            Counsel for Gainu Adisa Kosoko                Counsel for Wayne Lamarr Ganaway
13
            Amy Chelini                                   Bret O. Whipple
14          Law Office of Amy Chelini                     Law Office of Bret Whipple
            630 S. Seventh Street                         1100 S. Tenth Street
15          Las Vegas, NV 89101                           Las Vegas, NV 89104
            chelinilaw@hotmail.com                        whipplefed@yahoo.com
16          Counsel for Gainu Adisa Kosoko                Counsel for Anjali Yasmin Aurora

17          Beau Sterling                                 Todd M. Leventhal
            Sterling Law LLC                              Leventhal and Associates
18          228 S. 4th Street First Floor                 600 South Third Street
            Las Vegas, NV 89101                           Las Vegas, NV 89101
19          bsterling@sterlinglaw.com                     todlev@yahoo.com
            Counsel for Gainu Adisa Kosoko                Counsel for Anjali Yasmin Aurora
20

21

22
                                                          /s/Michelle C. Lewis
23                                                        MICHELLE C. LEWIS
                                                          Forfeiture Support Paralegal Specialist
24

25

26
